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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA


 Case No.          CV 07-06835 AHM (AJWx)                                        Date   May 27, 2008
 Title             UMG RECORDINGS, INC., et al. v. DIVX, INC. et al




 Present: The                    A. HOWARD MATZ, U.S. DISTRICT JUDGE
 Honorable
                Stephen Montes
                 Deputy Clerk                        Court Reporter / Recorder                Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:


 Proceedings:                 (In Chambers)–No Proceedings Held

     The Court DENIES the motion to dismiss this case that Defendant DivX, Inc.
(“DivX”) filed, for the following reasons.1

         1.         Dismissal Would Be Unjust and Would Confer a Potential Windfall Benefit
                    on DivX.

       Dismissal would penalize UMG, when there is no showing that it has done
anything wrong. It did not retain Irell & Manella to represent it in this case. Indeed, it
hired another firm to handle just this case, thereby necessarily incurring an additional
expense in order to avoid having its counsel accused of a conflict of interest.

         2.         There Is No Showing That Any of DivX’s Confidential Materials
                    Disclosures Have Been Revealed or Likely Will Be Revealed.

       DivX exchanged client confidences with Irell & Manella, but there is no showing -
- indeed, not even a claim - - that Irell & Manella has disclosed these confidences to any
third party, in this litigation or otherwise. Moreover, although DivX has stated that it


         1
         Dkt. No. 18. This Order is necessarily abbreviated. The parties are familiar with
the facts and the procedural posture of this case and the other related actions that plaintiff
UMG Recording, Inc. (“UMG”) has filed in this district, which have been assigned to this
Court. The Court regrets that because of the nature and pace of the other numerous
matters to which it has been forced to turn, this ruling was delayed.
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received advice about the D.M.C.A. from Irell & Manella, it has not established that the
advice involved or was about issues in this case. In any event, Irell & Manella has the
continuing duty to assure that it will not disclose such privileged communications.

         3.      Although the Positions UMG May Assert in Other Litigation, Through the
                 Irell Firm, May Be Inconsistent With or Even Antagonistic to Those That
                 DivX Asserts in this Case, That Does Not Warrant Dismissal.

        Although the Irell and Manella firm owes a duty of continuing loyalty to DivX, See
Santa Clara County Counsel Attys. Assn. v. Woodside, 7 Cal. 4th 525, 547-548, fn.6
(1994), that does not preclude it from advocating propositions of law in other cases that
are at odds with DivX’s contentions in this case. Because “conflicts” is a loaded word
that often carries negative connotations, the term “issues conflicts” can be misleading, if
it is used where “issue differences” would be more precise. In our adversarial system,
lawyers frequently argue for points of law on behalf of one client that are likely to affect
adversely the interests of other clients in different cases and in different contexts. That
there are such differences is the key, for the differences enable courts, clients and lawyers
alike to understand that a lawyer’s advocacy for one client may not be regarded as an
other client’s admission against the other client’s interest. Moreover, the practical
reasons why advocating antagonistic positions is not unethical are so abundant and clear
that they need not be belabored. To mention just one: in certain practice areas, such as
family law, if a lawyer could argue only for one gender, or only for the spouse who had
the higher earnings, that would cripple his right to engage in his profession. It also would
shrink the pool of available counsel, thereby depriving clients of their right to counsel of
choice. For these and other reasons, California Rule of Professional Conduct 3-310, on
which DivX relies, explicitly states, in the commentary (“Discussion”):

                 Rule 3-310 is not intended to prohibit a member from
                 representing parties having antagonistic positions on the same
                 legal question that has arisen in different cases, unless
                 representation of either client would be adversely affected.

       Nor does Rule 3.310(C)(3) preclude UMG from pursuing this case with Arnold &
Porter as its counsel. As stated in Fremont Indemnity Co. v. Fremont General Corp., 143
Cal. App. 4th 50, 65 (Cal.Ct.App. 2006), Rule 3-310(C)(3),
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         “. . . expressly is limited to situations where an attorney represents a client in
         a matter while concurrently representing in another matter a second client
         whose interests in the first matter are adverse to those of the first client.
         Rule 3-310(C)(3) prohibits the concurrent representation of clients without
         informed written consent only if the attorney represents one of the clients in
         a matter in which the clients’ interests are adverse; it does not prohibit the
         concurrent representation of clients whose interests are adverse only in a
         matter in which the attorney does not represent either client.”2

       Here, DivX contends that Arnold & Porter’s representation of UMG will not be
meaningfully independent from Irell’s representation of UMG given that: (1) the DivX
and Veoh complaints are virtually identical; (2) Irell & Manella represents UMG in Veoh
and two other cases; (3) one of those cases, Grouper, is farther along than this case; and
(4) in all these cases UMG is making expansive, precedent- seeking arguments about “so-
called ‘user-generated content’ Internet websites that are building their business with the
protected intellectual property of others.” Through this contention, DivX attempts to
depict Irell & Manella as effectively representing UMG in this action.

       DivX need not worry about whether Irell & Manella’s representation of UMG in
these other cases will inevitably and necessarily taint Arnold & Porter’s representation of
UMG in this case. The reason is this: this order denying DivX’s motion to dismiss is
conditioned on all of the following conditions being accepted in writing by UMG,
through declarations filed by the responsible partner-in-charge at both Irell & Manella
and Arnold & Porter:

         (1)     Irell & Manella will not assist Arnold & Porter in any aspect of this suit with


         2
         The Fremont court went on to point out, in a footnote, “As amicus curiae Los
Angeles County Bar Association points out, to regard an attorney’s concurrent
representation of clients whose interests are not adverse in any of the matters in which the
attorney represents those clients as a conflict of interest due to the clients’ adversity in a
third matter in which the attorney does not represent either client would impose a
tremendous burden on attorneys to discover all matters in which a client’s interests might
conflict with those of another client and could result in much more frequent
disqualification of counsel.” Id.
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         respect to any legal, evidentiary, or other substantive issue, including: drafting
         briefs, motions, or other papers on behalf of plaintiffs; commenting on, editing,
         revising, or suggesting briefs, motions, or other papers; and providing legal or
         substantive advice to Arnold & Porter for any purpose;

         (2) Irell & Manella will not prepare witnesses (including expert witnesses) and
         will not attend depositions or hearings in the DivX suit; and

         (3) Arnold & Porter will not request that this case be consolidated with or
         coordinated with the other cases.


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                                                        Initials of Preparer               SMO




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